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                          No. 21-11001

          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT


                  UNITED STATES OF AMERICA,

                                   Plaintiff-Appellee,

                              v.
                        ZACKEY RAHIMI
                 ALSO KNOWN AS ZACHEY RAHIMI,

                                  Defendant-Appellant.


        On Direct Appeal from the United States District
           Court for the Northern District of Texas
                     Fort Worth Division


                 APPELLANT’S INITIAL BRIEF
                       Criminal Appeal


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                  CERTIFICATE OF INTERESTED PERSONS

      The undersigned counsel of record certifies that the following listed persons

and entities have an interest in the outcome of this case. These representations are

made in order that the judges of this Court may evaluate possible disqualification or

recusal.



Appellant:                  Zackey Rahimi

Defense Counsel:            Rachel Taft (trial)
                            Brandon Beck (appellate)

Appellee:                   United States

Prosecution:                U.S. Attorney’s Office for the Northern District of Texas
                            U.S. Department of Justice

District Judge:             The Honorable Mark Pittman




                                                           /s/ Brandon Beck
                                                           Brandon Beck

                                                           Counsel for Mr. Rahimi




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              STATEMENT REGARDING ORAL ARGUMENT

      Mr. Rahimi requests oral argument to address the district court’s decision to

run the sentences on pending state charges consecutively.




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                       JURISDICTIONAL STATEMENT

      The district court had original jurisdiction over this case pursuant to 18 U.S.C.

§ 3231. This Court has appellate jurisdiction under 28 U.S.C. § 1291. Mr. Rahimi

filed a timely notice of appeal on October 5, 2021, which was eight days after the

district court entered written judgment. (ROA.95-100).

                     ISSUES PRESENTED FOR REVIEW

I.    Did the district court err when it decided to run any sentence imposed

      on relevant state cases consecutively?

II.   Is 18 U.S.C. § 922(g)(8) facially unconstitutional? [foreclosed]




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                        STATEMENT OF THE CASE

 I.   Facts and Proceedings Below

      In the course of investigating a series of five shooting incidents between

December 1, 2020, and January 8, 2021, police officers obtained a search warrant

for the house of Zackey Rahimi, Appellant. (ROA.210). Inside, the officers found a

copy of a two-year domestic violence protective order—issued on February 5,

2020—large amounts of cash, and several firearms. (ROA.211). Mr. Rahimi,

however, was not present because he was in state custody on suspicion of

Aggravated Assault with a Deadly Weapon, from an incident on November 12,

2020. (ROA.210).

      The government charged Mr. Rahimi with one count of Firearm Possession

While Under Domestic Violence Restraining Order, in violation of 18 U.S.C.

§ 922(g)(8). (ROA.20-22). He pleaded guilty to the one-count indictment on May

26, 2021. (ROA.160).

      Mr. Rahimi’s presentence report (PSR) detailed facts concerning his offenses

and associated relevant conduct, much of which was the subject of pending charges

in Texas state court. (See ROA.217-20). Four of the pending charges are at issue

here, each of which the district court found not relevant conduct to the instant

offense:


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      The events of December 9, 2019, resulting in the state charges
      described in PSR ¶¶ 50-52.

      On December 9, 2019, Mr. Rahimi physically assaulted his girlfriend,

threatened her with a firearm, and fired a shot in an unknown direction.

(ROA.217). His girlfriend then filed for an emergency protective order.

(ROA.217). This culminated in three pending state charges:

   • Terroristic Threat of a Family / Household Member, Case No. 1635415
     (PSR ¶ 50)

   • Discharge of a Firearm in Certain Municipalities, Case No. 1635418
     (PSR ¶ 51)

   • Assault Causing Bodily Injury Family Violence, Case No. 1635420
     (PSR ¶ 52).

(ROA.217-18). Over objection, the district court found that none of these charges

were relevant conduct and ordered them to run consecutively. (See ROA.96).

      The events of November 12, 2020, resulting in the state charge
      described in PSR ¶ 55.

      On November 12, 2020, Mr. Rahimi assaulted and threatened a woman

with a firearm, resulting in another pending state charge for Aggravated Assault

with a Deadly Weapon, Case No. 1678799D (PSR ¶ 55). (ROA.219). The district

court also ordered this pending charge to run consecutively. (See ROA.96).




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      The Sentencing Hearing

      Mr. Rahimi filed a written objection to the PSR, arguing that the pending

charge for discharge of a firearm, described in PSR ¶ 51, was relevant conduct to the

instant offense and should be ordered to run concurrently. (ROA.229-32). At the

sentencing hearing, Mr. Rahimi lodged an oral objection that the charges described

in PSR ¶¶ 50-52 and ¶ 55 were relevant conduct to the instant offense and should be

ordered to run concurrently. (ROA.176-78). The district court overruled Mr.

Rahimi’s objections and ordered all four disputed pending charges to run

consecutively on the grounds that they were not relevant conduct to the instant

offense. (ROA.181, ROA.96).

 II. Summary of the Argument

      The district court erred in finding that Mr. Rahimi’s prior gun-related,

domestic-violence conduct was not relevant conduct to the offense of conviction:

possession of firearm while under a domestic-violence protective order. The

sentencing guidelines instruct district courts to run concurrently pending charges that

are based on relevant conduct. Relevant conduct includes offenses that are part of

the same course of conduct, including an ongoing series of offenses. In determining

whether a series of offenses qualifies as relevant conduct, courts are to consider the

degree of similarity between the offenses, the regularity (repetitions) of the offenses,

and the time interval between the offenses.
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      Here, the instant offense and the pending charges were similar and happened

with regularity within a short time period. Thus, the district court improperly found

that Mr. Rahimi’s prior offenses and the offense of conviction were not part of an

ongoing series of crimes. This Court should reverse.




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                                   ARGUMENT

I.     The district court improperly found that four of Mr. Rahimi’s
       pending state charges—each of which involved domestic violence
       and a firearm—were not relevant conduct to the instant offense.

 A. Standard of Review

       In the district court, Mr. Rahimi argued that four of his pending charges were

relevant conduct to the instant offense. (ROA.229-32) (arguing that ¶ 51 of the PSR

was relevant conduct); (ROA.176-78) (arguing that ¶¶ 50, 51, 52, and 55 of the PSR

were relevant conduct). Accordingly, he preserved error on the issue. This Court

reviews a district court’s application of the sentencing guidelines de novo and its

factual findings for clear error. United States v. Brummett, 355 F.3d 343, 344 (5th

Cir. 2003). A determination of relevant conduct is a finding of fact reviewed for

clear error. Id. at 345.

 B.    Discussion

       A district court is entitled to order its sentences served concurrently or

consecutively to anticipated state terms of imprisonment. See Setser v. United States,

566 U.S. 231 (2012). The Sentencing Commission has provided guidance for the

exercise of such discretion in USSG § 5G1.3. When the defendant has an

undischarged sentence—a sentence begun but not completed at the time of federal

sentencing—the Commission recommends a consecutive sentence if the instant

offense was committed while on supervision, incarceration, or escape status for the
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undischarged sentence. USSG § 5G1.3(a). If not, and the sentence stems from

“relevant conduct” to the instant offense, the Commission recommends a concurrent

sentence. See USSG § 5G1.3(b). In USSG §5G1.3(c), the Commission extends this

recommendation to anticipated sentences.

      As described above, Mr. Rahimi accrued four charges stemming from conduct

dealing with firearms and domestic violence. None of these satisfy USSG

§ 5G1.3(a). As will be shown, all of them are relevant conduct, and accordingly fall

within USSG § 5G1.3(b). The Commission therefore recommends a concurrent

sentence in each case. See USSG § 5G1.3(c).

      The Commission defines “relevant conduct” to include, “solely with respect

to offenses of a character for which § 3D1.2(d) would require grouping of multiple

counts, all acts and omissions described in subdivisions (1)(A) and (1)(B) above that

were part of the same course of conduct or common scheme or plan as the offense

of conviction.” USSG § 1B1.3(a)(2). “Factors that are appropriate to the

determination of whether offenses are sufficiently connected or related to each other

to be considered as part of the same course of conduct include the degree of

similarity of the offenses, the regularity (repetitions) of the offenses, and the time

interval between the offenses.” USSG § 1B1.3 cmt. n.5(B)(ii)). The five pending

charges at issue here all easily pass this test. The three factors named in the


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Commentary to USSG § 1B1.3—similarity, regularity, and temporal proximity—all

unequivocally support a relevant conduct finding.

         Temporal proximity. Although not a bright-line rule, this Court has generally

used one year as “the benchmark” for determining temporal proximity. See Rhine,

583 F.3d at 886-87; see also United States v. Ocana, 204 F.3d 585 (5th Cir. 2000).

The conduct underlying the pending state charge described in PSR ¶ 55 occurred on

November 12, 2020, just two months before Mr. Rahimi was found with the firearm

in the instant offense.1 While the conduct that lead to the pending charges described

in PSR ¶¶ 50-52 occurred a little more than one year prior to the instant offense—

December 9, 2019—it was within a year of other events that the district court found

to be relevant conduct. (E.g. ROA.209-12). Thus, temporal proximity favors a

finding of relevant conduct.

         Regularity. The regularity analysis turns on whether “there is evidence of a

regular, i.e., repeated, pattern of similar unlawful conduct directly linking the

purported relevant conduct and the offense of conviction.” See Rhine, 583 F.3d at

888. To establish regularity, courts look to both the number of potential relevant

conduct offenses and the similarities between those crimes and the offense of

conviction. See Rhine, 583 F.3d 878, 889-90 (5th Cir. 2009); see also United States



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    Mr. Rahimi was found with the firearm on January 14, 2021.
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v. Ortiz, 613 F.3d 550, 558 (5th Cir. 2010). In United States v. Brummett, this Court

held that firearms possession on three separate occasions showed regularity. 355

F.3d 343, 345 (5th Cir. 2003).

      The offenses that gave rise to the federal charge here, along with the pending

state charges, were regularly repeated, several times, in the fourteen months

preceding the instant offense. Specifically, the defendant’s firearms and domestic-

violence conduct occurred in December 2019, November 2020, December 2020, and

January 2021.

      Similarity. Finally, the similarity of the offenses is striking. During each of

the events in December 2019 (PSR ¶¶ 50-52) and November 2020 (PSR ¶ 55), Mr.

Rahimi possessed a firearm, and threatened its use, during a domestic assault.

(ROA.217-19). During the instant offense, he threated another person with a firearm

and was ultimately arrested and charged with possession of a firearm while under a

domestic-violence restraining order. It is important to note here that the very

protective order that gave rise to the instant offense was the direct result of December

2019 incidents that the district court held not to be relevant conduct. (ROA.217)

(describing the issuance of the protective order). Not only is there strong similarity

here but a lasting connection to earlier relevant conduct.

      The clear recommendation of the Commission on these facts is for a

concurrent sentence as to these four charges. A district court may depart (or,
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presumably, vary) from the Commission’s recommendations in USSG § 5G1.3. See

United States v. Rangel, 319 F.3d 710, 715-716 (5 Cir. 2003). But it is not presumed

to do so when it does not say that this is what it is doing. See United States v.

Simmons, 470 F.3d 1115, 1131 (5th Cir. 2006) (“Accordingly, a district court should

acknowledge such a policy statement and explain why the prohibited or discouraged

factor, as it relates to the defendant, is so extraordinary that the policy statement

should not apply.”); Rangel, 319 F.3d at 715-716 (declining to presume that the

district court intended to impose a consecutive sentence where Guidelines called for

a concurrent sentence). The appropriate response in such a case is to remand. See id.

II.   18 U.S.C. § 922(g)(8)—which punishes, as a felony, possession of a
      firearm while subject to a protective order—is a facially
      unconstitutional restriction on a person’s Second Amendment right to
      bear arms. [currently foreclosed by United States v. McGinnis, 956
      F.3d 747 (5th Cir. 2020)]

 A. Standard of Review: De Novo

      Because this issue deals with the constitutionality of 18 U.S.C. § 922(g)(8)

under the Second Amendment, review is de novo. United States v. Patterson, 431

F.3d 832, 835 (5th Cir. 2005). Mr. Rahimi preserved this issue in a timely motion to

dismiss the indictment. (ROA.41-59).




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 A. 18 U.S.C. § 922(g)(8) is facially unconstitutional under both means-
    ends scrutiny and an historical-traditional framework.

      In Heller, the Supreme Court adopted an individual-rights theory of the

Second Amendment based on its text and role in our country’s early history. Heller,

554 U.S. 570, 605 (2008). In striking down a ban on handguns in the home, the Court

held that the right to keep and bear arms for defense of self and home struck at the

core of the Second Amendment. Id. at 629-30. The Court reiterated this view two

years later in McDonald v. City of Chicago, emphasizing that a person’s right to bear

arms for self-defense is a “fundamental right[] necessary to our system of ordered

liberty.” 561 U.S. 742, 778 (2010).

      While the Court was clear in Heller that the Second Amendment was

amenable to “longstanding prohibitions” and well-crafted regulations, the Court was

equally clear that any limitations imposed should be consistent with “historical

justifications.” See Heller, 554 U.S. at 626-27, 635. “While courts may be free to

‘presume’ that many regulations (including those listed) will ultimately be declared

lawful, it does not eliminate the need to conduct a careful constitutional analysis.”

United States v. Tooley, 717 F. Supp. 2d 580, 585 (S.D.W. Va. 2010).

      Stirred by Supreme Court guidance, courts evaluating Second Amendment

challenges since Heller have taken a two-step approach. Under the first step, courts

consider whether the particular restriction burdens conduct that falls within the scope

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of the Second Amendment. See NRA, 700 F.3d at 194-95. Courts, however, disagree

over what the second step entails. The majority of circuits, including this Court, have

adopted a means-ends scrutiny analysis as the second step. See id. at 195 (“If the

challenged law burdens conduct that falls outside the Second Amendment’s scope,

then the law passes constitutional muster … If the law burdens conduct that falls

within the Second Amendment’s scope, we then proceed to apply the appropriate

level of means-ends scrutiny.”). Other courts have considered, as the second step, a

historical-traditional analysis described by then-Judge Kavanaugh in his impressive

dissent in Heller II. Heller v. District of Columbia (“Heller II”), 670 F.3d 1244,

1269-96 (Kavanaugh, J., dissenting) (“In my view, Heller and McDonald leave little

doubt that courts are to assess gun bans and regulations based on text, history, and

tradition, not by a balancing test such as strict or intermediate scrutiny.”). Under

either approach, 18 U.S.C. § 922(g)(8) is unconstitutional on its face.

      1.   18 U.S.C. § 922(g)(8) regulates conduct that falls within the scope
           of the Second Amendment, thus satisfying the first step of both
           post-Heller analytic frameworks.

      The first step of evaluating the constitutionality of a firearms-restriction asks

whether the restriction regulates conduct that falls within the scope of the Second

Amendment. See NRA, 700 F.3d at 195 (“If the law burdens conduct that falls within

the Second Amendment’s scope, we then proceed to apply the appropriate level of

means-ends scrutiny.”). While the outer contours of the Second Amendment’s scope
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may blur, at its core, the Second Amendment protects an individual’s right to possess

a firearm (or ammunition) in one’s home for purposes of self-defense. McDonald v.

City of Chicago, 561 U.S. 742, 767 (“Self-defense is a basic right, recognized by

many legal systems from ancient times to the present day, and in Heller, we held

that individual self-defense is ‘the central component’ of the Second Amendment

right.”); id. (“[T]he need for defense of self, family, and property is most acute in

the home”). Based on Heller and McDonald, 18 U.S.C. § 922(g)(8)—which

criminalizes the possession of any firearm or ammunition, including in the home—

clearly burdens conduct that falls within the scope of the Second Amendment. The

Tenth Circuit was correct in this conclusion:

             Applying [the two-step] approach here, there is little doubt
             that the challenged law, § 922(g)(8), imposes a burden on
             conduct, i.e., Reese’s possession of otherwise legal
             firearms, that generally falls within the scope of the right
             guaranteed by the Second Amendment. Thus, we must
             proceed to the second part of the analysis and “evaluate [§
             922(g)(8)] under some form of means-end scrutiny.”

United States v. Reese, 627 F.3d 792, 801 (10th Cir. 2010) (citing United States v.

Marzzarella 614 F.3d 85, 89 (3d Cir. 2010)). The operative question then becomes,

under the post-Heller two-step inquiry, either what degree of scrutiny to apply or

whether there is a historical-traditional precedent for such a restriction.

      2.   18 U.S.C. § 922(g)(8) cannot survive means-ends scrutiny.


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      In Heller, the Supreme Court declined to adopt a universal level of means-

ends scrutiny for Second Amendment restrictions, although it expressly rejected

rational basis review as well as any “interest-balancing inquiry.” Heller, 554 U.S. at

628 n.27, 633-35. The Court’s reservation was appropriate, however, because

different types of restrictions, depending on their nature, could trigger either strict

or intermediate scrutiny. This is consistent with Heller’s analogy to First

Amendment analysis, under which different levels of scrutiny apply depending on

the type of prohibition. Turner Broad. Sys. v. FCC, 512 U.S. 622, 637 (1994) (“[N]ot

every interference with speech triggers the same degree of scrutiny under the First

Amendment.”); United States v. Marzzarella, 614 F.3d 85, 96-97 (3d Cir. 2010)

(“[T]he right to free speech, an undeniably enumerated fundamental right, is

susceptible to several standards of scrutiny, depending upon the type of law

challenged and the type of speech at issue. We see no reason why the Second

Amendment would be any different.”). Here, strict scrutiny should apply. But §

922(g)(8) cannot survive even intermediate scrutiny.

           a.   Strict scrutiny is the appropriate standard for evaluating 18
                U.S.C. § 922(g)(8)’s restriction on the right to bear arms.

      The appropriate level of scrutiny, under the Second Amendment, turns on how

directly the challenged law burdens this core: If the law strikes the core, then strict

scrutiny is required; if the law is within the scope of the Second Amendment but

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misses its core, then intermediate scrutiny is more applicable. NRA, 700 F.3d at 195.

Under no circumstances is rational basis review permitted. Heller, 554 U.S. at 628

n.27.

         Heller and McDonald held that the core of the Second Amendment is the

right to possess firearms, in the home, for purposes of self-defense. McDonald, 561

U.S. at 567-68; Heller, 554 U.S. at 628-29. Yet the imposition of a protective order,

assuming it satisfies the minimum requirements of 18 U.S.C. § 922(g)(8), disarms

the protective-order respondent—under penalty of a federal felony punishable by up

to ten years in a penitentiary—for the duration of the civil order. See 18 U.S.C. §

924(a)(2). There is, moreover, no exception in § 922(g)(8) for home-defense or self-

defense. See § 922(g)(8). Thus, the protective-order respondent is totally deprived

of his right to bear arms “at its zenith.” See Gould v. Morgan, 907 F.3d 659, 672 (1st

Cir. 2018) (“[T]he right to self-defense … is at its zenith inside the home.”).

Accordingly, strict scrutiny is the appropriate standard of constitutional review here.

        Despite Heller and McDonald’s straightforward description of the Second

Amendment’s core, at least two circuits have nonetheless applied intermediate

scrutiny to § 922(g)(8). United States v. Chapman, 666 F.3d 220, 225-26 (4th Cir.

2012); United States v. Reese, 627 F.3d 792, 802 (10th Cir. 2010). In order to apply

this lesser standard of constitutional review, the Fourth Circuit, in Chapman,

latched-onto Heller’s language about the rights of “law-abiding, responsible”
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citizens to conclude that these are limiting terms that remove the burden of

disarmament on protective-order respondents from the Second Amendment’s core.

Chapman, 666 F.3d at 225-26 (characterizing the defendant as “without a doubt, not

a responsible citizen”). The Tenth Circuit, in Reese, applied intermediate scrutiny

because the Seventh Circuit had done so with § 922(g)(9), concluding that §

922(g)(8) and § 922(g)(9) are “substantially similar.” Reese, 627 F.3d at 802. Both

conclusions, although plausible at first glance, are ultimately wrong.

      First, the historical record contradicts any notion that protective-order

respondents would not have been considered “law-abiding, responsible” citizens

such that they would be deprived of their right to bear arms. Authored by Justice

Scalia, Heller’s majority opinion is couched in the Second Amendment’s early

history. And in that history, there is no indication that protective-order respondents

comprised members of a class subject to “longstanding prohibitions” on otherwise-

lawful firearms and ammunition ownership. While there’s little or no historical

exposition of how the Framers understood the terms “law-abiding” and

“responsible” vis-a-vis the Second Amendment, we know they did not historically

exclude either domestic violence misdemeanants (which Mr. Rahimi was not) or

people subject to protective orders. As David Kopel and Joseph Greenlee explain:

             It is true that the Framers and the public at large wanted
             gun owners to be virtuous and peaceable (except when
             fighting was necessary). This is one reason for the
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             preference for militias over standing armies; because the
             professional soldier was entirely dependent on the
             government, and lived a life of constant obedience to
             others, it was believed that moral degradation would
             result. It is equally true that the Framers and the American
             people wanted virtuous people as voters, jurors, elected
             officials, and so on. But there is simply no tradition - from
             1791 or 1866 - of prohibiting gun possession (or voting,
             jury service, or government service) for people convicted
             of misdemeanors or subject to civil protective orders. The
             colonies and then the states certainly knew how to ban
             firearms possession for people who were considered
             dangerous (namely, slaves and Indians). This “tradition”
             cannot be extended to every person whom a modern
             legislature might consider dangerous. A modern ban might
             be upheld under heightened scrutiny, but there is no
             tradition that persons subject to novel modern bans have
             been historically considered to have no Second
             Amendment rights at all.

David B. Kopel & Joseph G. S. Greenlee, The Federal Circuits’ Second Amendment

Doctrines, 61 St. Louis L.J. 193, 244 (Winter 2017) (emphasis added). And although

domestic violence was a crime in Puritan New England, just as today, “[h]istorical

support for the exclusion of domestic violence offenders from Second Amendment

protection appears rather thin … Judges in this time period were more likely to

confiscate a wife beater’s liquor than his guns.” Carolyn B. Ramsey, Firearms in the

Family, 78 Ohio St. L.J. 1257, 1301 (2017). But still, such restrictions applied to

offenders, not those who where subject to protective orders.

      The government may also argue, as it has in other cases, that, in a modern

sense, a person subject to a protective order could not be regarded as a “law-abiding,
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responsible” citizen. Not so. Section 922(g)(8) does not require any court, by any

burden of proof, to have found that a protective-order respondent violated the law or

is irresponsible. Section 922(g)(8) only requires, at a minimum, that a court order

“restrains” or “prohibits” the respondent from engaging in specified law-violative

activities in the future. See 18 U.S.C. § 922(g)(8)(B), (C)(ii). If that were enough, no

citizen would be “law-abiding” or “responsible” because everyone is already

restrained or prohibited from engaging in those very activities by each state’s penal

code. E.g., Tex. Pen. Code § 42.07 (restraining from harassment); Tex. Pen. Code §

22.01 (prohibiting from causing injury).

      The government may further respond by pointing to specific facts in this case

that describe assaultive behavior, particularly from the civil district court’s finding

that there is a history of domestic violence or Ms. Thrash’s testimony at trial. (See

ROA.216,410-12). Such facts still cannot save § 922(g)(8) because it’s irrelevant to

the statute in that § 922(g)(8) does not require the government to prove any

assaultive behavior, only the presence of an active order that contains certain

restrictions. See 18 U.S.C. § 922(g)(8)(B), (C)(ii). Moreover, under every circuit’s

caselaw that has examined the issue, it would be no defense for Mr. Rahimi to show

that he never exhibited any assaultive behavior because he is forbidden from

collaterally attacking the state protective order in a federal proceeding. See, e.g.,

Emerson, 270 F.3d at 264 (“[T]he party enjoined may not collaterally attack the
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particular predicate order in the section 922(g)(8) prosecution, at least so long as the

order, as here, is not so transparently invalid as to have only a frivolous pretense to

validity.”); see also United States v. Wescott, 576 F.3d 347, 354-55 (7th Cir. 2009);

United States v. DuBose, 598 F.3d 726, 732 (11th Cir. 2010); United States v. Young,

458 F.3d 998, 1005 (9th Cir. 2006); United States v. Hicks, 389 F.3d 514, 534 (5th

Cir. 2004); United States v. Baker, 197 F.3d 211, 216-17 (6th Cir. 1999). We must

instead evaluate § 922(g)(8) by its terms, and its terms allow for a criminal

conviction against a citizen who is altogether law-abiding and responsible so long

as the court order prohibits and restrains certain criminal conduct. Freedom Path,

Inc. v. IRS, 913 F.3d 503, 508 (5th Cir. 2019) (“[A] ‘facial challenge’ to a statute

considers only the text of the statute itself, not its application to the particular

circumstances of an individual.”); see also Cafe Erotica of Fla., Inc. v. St. Johns

Cnty., 360 F.3d 1274, 1282 (11th Cir. 2004).

      In truth, Heller did not use “law-abiding, responsible” as a code for ensuring

intermediate scrutiny review of § 922(g)(8) or any other subsection. It could easily

have done so plainly. Courts should not make the same exacting demands on the

wording of judicial opinions as would be appropriate with statutes. See United States

v. Skoien, 614 F.3d 638, 640 (7th Cir. 2010) (en banc) (“Judicial opinions must not

be confused with statutes, and general expressions must be read in light of the subject


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under consideration.”) (citing Zenith Radio Corp. v. United States, 437 U.S. 443,

462 (1978)). As the en banc Seventh Circuit explained:

             Heller also observes that the Second Amendment “elevates
             above all other interests the right of law-abiding,
             responsible citizens to use arms in defense of hearth and
             home.” Id. at 2821. People convicted of domestic violence
             are neither law-abiding nor responsible, the prosecutor
             contends.

             We do not think it profitable to parse these passages of
             Heller as if they contained an answer to the question
             whether § 922(g)(9) is valid. They are precautionary
             language. Instead of resolving questions such as the one we
             must confront, the Justices have told us that the matters
             have been left open. The language we have quoted warns
             readers not to treat Heller as containing broader holdings
             than the Court set out to establish: that the Second
             Amendment creates individual rights, one of which is
             keeping operable handguns at home for self-defense. What
             other entitlements the Second Amendment creates, and
             what regulations legislatures may establish, were left open.
             The opinion is not a comprehensive code; it is just an
             explanation for the Court’s disposition.

Skoien, 614 F.3d at 639-40. Heller left the degree of scrutiny required under §

922(g)(8) open. Based on the language of § 922(g)(8), the historical record, and

Heller and McDonald’s description of the Second Amendment’s core, this Court

should apply strict scrutiny.

      Second, the analyses of § 922(g)(8) and (g)(9) should not be cross-pollinated

because the statutes, in form and function, are fundamentally distinct. Courts have

been clear in cases dealing constitutional challenges under enumerated rights that
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the appropriate standard of review depends on the particular statute in question rather

than a one-size-fits-all approach. United States v. Skoien, 587 F.3d 803, 814 (7th Cir.

2009) (“The Second Amendment is no more susceptible to a one-size-fits-all

standard of review than any other constitutional right.”), vacated on other grounds

by 614 F.3d 639 (7th Cir. 2010) (en banc). To the extent that this Court would be

willing to give weight to Heller’s language about “law-abiding, responsible”

citizens, such language should apply with much greater force to domestic abusers

who have been convicted, beyond a reasonable doubt, than persons who are

restrained, by a civil tribunal under a relaxed burden of proof, from possible future

assaultive conduct. If we are willing to say that the government has a lower

constitutional burden with respect to § 922(g)(9) because domestic-violence

misdemeanants are per se violent and not law-abiding, the same cannot be said

categorically about § 922(g)(8). Compare Tyler v. Hillsdale Cnty. Sheriff’s Dep’t,

775 F.3d 308, 337 (6th Cir. 2014) (“Domestic-violence misdemeanants, by

definition, are violent and non-law-abiding [].”), with id. at 340 (“The prohibition in

§ 922(g)(8) targets presumptively violent, albeit law-abiding, individuals.”),

reversed on other grounds by 837 F.3d 678 (6th Cir. 2016) (en banc). Each

subsection of § 922(g) must be treated individually when making a scrutiny

assessment. While subsection (g)(9) may very well warrant intermediate scrutiny


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(there are serious reasons to doubt this, however), subsection (g)(8) should be treated

differently, on its own terms, and reviewed under strict scrutiny.

            b.    18 U.S.C. § 922(g)(8) fails under strict scrutiny review
                  because it is neither narrowly tailored nor the least
                  restrictive means of achieving Congress’s policy goals.

       To survive strict scrutiny analysis, a statute must: (1) serve a compelling

governmental interest; (2) be narrowly tailored to achieve that interest; and (3) be

the least restrictive means of advancing that interest. ACLU v. Mukasey, 534 F.3d

181, 190 (3d Cir. 2008) (citing Sable Commc’ns of Cal., Inc. v. FCC, 492 U.S. 115,

126 (1989)). The government bears the burden of making these showings. Citizens

United v. FEC, 558 U.S. 310, 340 (2010) (“[S]trict scrutiny … requires the

Government to prove that the restriction ‘furthers a compelling interest and is

narrowly tailored to achieve that interest.’”). 2

       Mr. Rahimi concedes a compelling governmental interest in reducing

domestic gun violence, which is the interest the government identified in Chapman

and Reese. Chapman, 666 F.3d at 226; Reese, 627 F.3d at 804 n.4. That is an

important and praiseworthy policy goal. The problem with § 922(g)(8), however, is



2
  Mr. Rahimi cites First Amendment jurisprudence for the strict scrutiny analysis for two
reasons. First Heller and other courts have analogized Second Amendment analysis to First
Amendment cases. See, e.g., Heller 554 U.S. at 582. Second, no court has conducted a rigorous
Second Amendment analysis under strict scrutiny, leaving the need to look elsewhere for
guidance.
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that it is neither narrowly tailored nor the least restrictive means of achieving that

goal.

        The “narrowly tailored” and “least restrictive means” prongs work hand-in-

hand. A statute is narrowly tailored “only if it targets and eliminates no more than

the exact source of the ‘evil’ it seeks to remedy.” Frisby v. Schultz, 487 U.S. 474,

485 (1988). “If a less restrictive alternative would serve the Government’s purpose,

the legislature must use that alternative.” United States v. Playboy Entm’t Grp., 529

U.S. 803, 813 (2000). Section 922(g)(8) cannot survive strict scrutiny because it

“targets and eliminates” far more conduct than is necessary, which is demonstrated

by the less restrictive means available to similarly address domestic gun violence.

See Entm’t Software Ass’n v. Blagojevich, 469 F.3d 641, 646 (7th Cir. 2006) (“[A]

statute is not narrowly tailored if ‘a less restrictive alternative would serve the

Government’s purpose.’”).

        There are at least four ways in which § 922(g)(8) could be less restrictive

while still advancing the policy goal of reducing domestic gun violence. First, §

922(g)(8) could contain an exception for firearms possession in the defendant’s

home once the defendant is no longer cohabitating with the intimate partner (or

child) who is listed on the protective order. This would disincentivize any contact

between an armed domestic abuser and the domestic violence survivor while, at the

same time, still allow the otherwise law-abiding citizen to bear arms at the Second
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Amendment’s “zenith”: to protect his own home and hearth. See Gould, 907 F.3d at

672 (“[T]he right to self-defense … is at its zenith inside the home.”). Alternatively,

§ 922(g)(8) could contain an exception for firearm’s possession in the defendant’s

home when the defendant is no longer cohabitating with any intimate partner (or

child), irrespective of whether they are listed on the protective order. This would be

more restrictive than the above alternative but still less restrictive than what §

922(g)(8) requires. Then, if a protective-order respondent were ever to cohabitate

with an intimate partner (or child), they would have to disarm for the period of

cohabitation. This would ensure that a firearm would never be in any potential

domestic abuse situation while also allowing for a limited ability for the otherwise

law-abiding citizen to defend his hearth and home. In Jackson v. City and County of

San Francisco, the Ninth Circuit reasoned that firearms regulations that left

alternative channels open for self-defense would not likely severely burden a

person’s Second Amendment right. Jackson v. City & Cty. of San Francisco, 746

F.3d 953 (9th Cir. 2014); see cf. United States v. Marzzarella, 614 F.3d 85, 97 (3d

Cir. 2010) (applying intermediate scrutiny to a regulation which “leaves a person

free to possess any otherwise lawful firearm he chooses—so long as it bears its

original serial number”). Not so under § 922(g)(8).

      Second, § 922(g)(8) could be made less restrictive by eliminating subsection

(C)(ii), which would narrow the application of § 922(g)(8) to cases in which there
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was an actual finding that the protective-order respondent “represents a credible

threat to the physical safety of such intimate partner or child.” See § 922(g)(8)(C)(i).

As it stands now, no such finding is required for culpability under § 922(g)(8)

because subsection (C)(ii) permits prosecution when only a future prohibition of

law-violative conduct is listed on the order. See § 922(g)(8)(C)(ii); Eugene Volokh,

The Second Amendment and the Right to Bear Arms After D.C. v. Heller:

Implementing the Right to Keep and Bear Arms for Self-Defense: An Analytical

Framework and a Research Agenda, 56 UCLA L. Rev. 1443, 1504 (June 2009)

(“The use of ‘or’ between (C)(i) and (C)(ii) suggests that the law could bar gun

possession even when there is no finding of a credible threat or of past violence, and

all that is present is a prohibition on ‘use, attempted use, or threatened use of physical

force.’”). By eliminating (C)(ii), Congress would focus § 922(g)(8) on

circumstances where violence was known to actually be at issue. Such an alternative,

moreover, is not outside the realm of reason. In fact, the original draft of § 922(g)(8)

did not include (C)(ii), which was only included after a lengthy and arduous process

of legislative negotiation between liberal and conservative factions in Congress, with

last-minute changes by the House. See Tom Lininger, A Better Way to Disarm

Batterers, 54 Hastings L.J. 525, 538-44 (March 2003).

      Third, § 922(g)(8) could be made less restrictive by requiring a court issuing

the protective order to find that a firearm was possessed, brandished, or discharged,
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or that the use of a firearm was threatened during the course of a past incident of

domestic violence. This would properly separate domestic gun abusers from abusers

who are prone to less-deadly means. This would not be to condone domestic abuse

of any variety (it would still be equally punished under state law) but would focus §

922(g)(8)’s harsh penalties (and restrictions) on actual gun abusers rather than a

broader class of people. According to a survey of domestic violence shelter residents

in California, only 36.7 % reported that there was a firearm in the home at some

point during the duration of the relationship with their most recent partner. Susan B.

Sorenson & Douglas J. Wiebe, Weapons in the Lives of Battered Women, 94 Am. J.

Pub. Health 1412, 1414 (2004). And only 39.1 % reported that their most recent

partner even owned a firearm. Id. Those protective-order respondents should be the

primary target of § 922(g)(8) in light of the Constitution's enumerated right to bear

arms.

        Fourth, the policy goal of reducing domestic gun violence could be most

directly, and narrowly, addressed by eliminating § 922(g)(8) altogether on the view

that § 922(g)(9), which disarms convicted domestic abusers, represents the outer-

limit of restrictions that the Second Amendment allows. Support for this view is

rooted in the certainty afforded by the due process protections of the criminal legal

system versus the ultimate uncertainty involved in a civil proceeding. To be

convicted of domestic abuse—“assault family violence” in Texas—requires proof
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beyond a reasonable doubt. Tex. Pen. Code § 2.01 (“[N]o person may be convicted

of an offense unless each element of the offense is proved beyond a reasonable

doubt”). To be injoined by a protective order, by contrast, requires only proof by a

preponderance of the evidence. Roper v. Jolliffe, 493 S.W.3d 624, 638 (Tex. App.—

Dallas 2015, pet. denied) (“Because Title 4 proceedings are civil in nature, the

traditional standard of proof by a preponderance of the evidence applies.”); see also

Cabellero v. Caballero, 2017 Tex. App. LEXIS 11632, at *15 (Tex. App.—Houston

[14th Dist.] Dec. 14, 2017, no pet.) (unpub.) (“Because the protective order does not

directly infringe on appellant's parental rights, we agree with the Dallas Court of

Appeals that due process did not require a burden of proof higher than the

preponderance-of-the-evidence standard mandated in most civil matters.”).

      Similarly, the rule of lenity in criminal cases affords more certainty by

limiting the breadth of how courts construe the law. See Cleveland v. United States,

531 U.S. 12, 25 (2000) (“[A]mbiguity concerning the ambit of criminal statutes

should be resolved in favor of lenity.”). Not so under the protective order statute,

despite its quasi-criminal nature. See Boyd v. Palmore, 425 S.W.3d 425, 430 (Tex.

App.—Houston [1st Dist.] 2011, no pet.) (“Given the remedial nature of Title IV of

the Texas Family Code … courts should broadly construe its provisions so as to

effectuate its humanitarian and preventative purposes.”).


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       As a result of these less restrictive alternatives that advance Congress’s policy

goal of reducing domestic gun abuse, § 922(g)(8) is not narrowly tailored and thus

cannot survive strict scrutiny.

            c.     Even under intermediate scrutiny review, 18 U.S.C. §
                   922(g)(8) is not reasonably adapted to an important
                   government interest.

       Under intermediate scrutiny, the government must show that the challenged

law is “reasonably adapted” to an important government interest. NRA, 700 F.3d at

207. Under this standard, the statute is not required to be the “least restrictive means”

to achieve Congress’s policy goal. NRA of Am. v. McCraw, 719 F.3d 338, 349 (5th

Cir. 2013). Still, however, the government must show more than a rational basis for

the restriction.

       This is admittedly a closer call, but the same observations above demonstrate

that § 922(g)(8) is still not “reasonably adapted” to reducing domestic gun abuse.

However, since the government is not required to make a least-restrictive-means

showing under intermediate scrutiny, more arguments are available to it. The best

argument, for the government, which has been adopted by some courts, is that §

922(g)(8) is reasonably adapted to Congress’s policy goal because the firearms ban

is a temporary restriction that exists only for the life of the protective order. E.g.,

United States v. Lippman, 369 F.3d 1039, 1044 (8th Cir. 2004) (“We also conclude

that the restraining order issued against Lippman was narrowly tailored to restrict
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his firearm possession for a limited duration and to protect the individual applicant

and that Congress had a compelling government interest in enacting § 922(g)(8) to

decrease domestic violence.”).

      Such an argument fails because any unwarranted deprivation of a fundamental

right is unconstitutional, irrespective of its duration. Rodriguez v. United States, a

Fourth Amendment case decided by the Supreme Court in 2015, provides a useful

analogy. 135 S. Ct. 1609 (2015). There, a police officer prolonged the duration of a

traffic stop, without reasonable suspicion, beyond the time necessary to achieve the

stop’s mission. Id. at 1612-14. The government argued that any extended seizure

was de minimis—and therefore excusable—because of its very short (twelve minute)

duration. Id. at 1616. The Supreme Court disagreed, holding that a constitutional

violation of any length was a constitutional violation nonetheless. See id. (“If an

officer can complete traffic-based inquiries expeditiously, then that is the amount of

‘time reasonably required to complete [the stop’s] mission.’ As we said in Caballes

and reiterate today, a traffic stop ‘prolonged beyond’ that point is ‘unlawful.’”).

      So too with other rights. See Elrod v. Burns, 427 U.S. 347, 373 (1976) (“The

loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.”); see also United States v. Allen, 542

F.2d 630, 633 (4th Cir. 1976) (“[T]he Sixth Amendment right to counsel … is so

fundamental that there should never occur any interference with it for any length of
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time, however brief, absent some compelling reason.”). And it’s hard to imagine that

the Third Amendment’s prohibition on quartering, for example, could be disregarded

because soldiers only occupied a home for a single night. See Const. Amend. III.

The rationale for rejecting duration-exceptions to constitutional violations is

obvious: to hold otherwise would mire courts in arbitrary line-drawing debates over

“how long is too long.” Not only is such a question impossible to answer, every

court would be free to arrive at a different answer. Is Connecticut’s 120-day

protective order an acceptable restriction? Conn. Gen. Stat. § 46b-15(e). What about

Kansas’s one-year protective order? Kan. Stat. Ann. § 60-3107(e). Does Texas’s

two-year protective order fall within the scope of the Second Amendment? See Tex.

Fam. Code Ann. § 85.001(d). What about in Mississippi, where the duration is not

capped by statute but wholly within the discretion of the chancery or county court?

Miss. Code Ann. § 93-21-15(2)(b). Or the extreme, concrete example of Mr. Reese’s

fifty-year protective order? Reese, 627 F.3d at 798. If this Court endorses such a

rule, one can easily imagine the slippery slope that will follow, as courts try to

determine whether three months, one year, two years, or a lifetime protective order

is reasonably adapted to Congress’s policy goal.

      These difficulties inherent in determining “how much is too much”

demonstrate why a bright-line rule for Second Amendment restrictions is warranted:

any restriction that prohibits the possession of a firearm, for self-defense, in the home
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goes to the core of the Second Amendment and cannot save § 922(g)(8) under

intermediate scrutiny.

      3.   18 U.S.C. § 922(g)(8) is unconstitutional under the historical-
           traditional framework because there is no historical-traditional
           analogy for a protective-order exception to firearms possession.

      Heller explained that “presumptively lawful” “longstanding” prohibitions on

the right to bear arms were not to be cast in doubt. Heller, 554 U.S. at 626-27. Based

on such language, in the context of a broader reading of both Heller and McDonald,

then-Judge Kavanaugh advocated for evaluating challenges to restrictions on gun

ownership based solely on the Second Amendment’s “text, history, and tradition.”

Heller II, 670 F.3d at 1271-75 (Kavanaugh, J., dissenting) (“In my view, Heller and

McDonald leave little doubt that courts are to assess gun bans and regulations based

on text, history, and tradition, not by a balancing test such as strict or intermediate

scrutiny.”). Under this historical-traditional approach, “analysis of whether … gun

regulations are permissible must be based on their historical justifications.” Id. at

1272 (internal quotations omitted). While Judge Kavanaugh cautioned that his

approach does not require a precise weapon or restriction to have existed in 1787,

1791, or even 1868, there must, at least, be an analogous corollary. Id. at 1275

(“[T]he proper interpretive approach is to reason by analogy from history and

tradition.”). If this Court were to adopt the Kavanaugh historical-traditional


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framework, § 922(g)(8) is unconstitutional because there is no historical precedent,

in the historical record or by analogy, for disarming protective-order respondents.

      First, § 922(g)(8) is a relatively recent invention. It originated with three bills

first introduced in 1993 and—after a period of vigorous debate between political

parties, policy groups, and special interests—was signed into law on September 13,

1994. Lininger, A Better Way to Disarm Batterers, 54 Hastings L.J. at 538-44. And

there was nothing like it before in federal law.

      Second, protective orders are a modern approach to addressing domestic

violence. Although nearly every state and U.S. territory today has enacted a

protective-order statute, there were no such statutes before 1970. Melvin Huang,

Keeping Stalkers at Bay in Texas, 15 Tex. J. on C.L. & C.R. 53, 68 (Fall 2009)

(“[P]rotective orders first came into existence in 1970 when the District of Columbia

passed its Intrafamily Offenses Act. … Pennsylvania became the first state to

authorize orders when it passed its Protection from Abuse Act in 1976. Within four

short years, forty-five states implemented similar legislation.”).

      Third, there is no historical analogy for disarming citizens based on no-contact

orders, and thin or conflicting evidence of disarmament for domestic violence.

Skoien, 614 F.3d at 651 (Sykes, J., dissenting) (“We simply cannot say with any

certainty that persons convicted of a domestic-violence misdemeanor are wholly

excluded from the Second Amendment right as originally understood.”); David B.
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Kopel & Joseph G. S. Greenlee, The Federal Circuits’ Second Amendment

Doctrines, 61 St. Louis L.J. 193, 244 (Winter 2017) (“[T]here is simply no tradition

- from 1791 or 1866 - of prohibiting gun possession (or voting, jury service, or

government service) for people convicted of misdemeanors or subject to civil

protective orders.”).

      As a result, under a historical-traditional framework, disarmament of

protective-order respondents is unconstitutional because it is not supported by the

text, history, or tradition of the Second Amendment. Thus, under either the scrutiny

or the Kavanagh analysis, § 922(g)(8) cannot survive the demands of Heller and

McDonald.

                                 CONCLUSION

      The guidance of USSG §5G1.3 is clear: relevant conduct should result in a

concurrent sentence unless the defendant was on supervision, incarcerated, or

awaiting sentence for the instant offense. Further, the application of USSG

§ 1B1.3(a)(2) is clear. All three factors noted in the Commentary to USSG §1B1.3

unequivocally support a finding of relevant conduct on a “course of conduct” theory.

                                              Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      On February 20, 2022, I filed this brief through the Court’s ECF system.

Opposing Counsel has therefore been served. I will also send a paper copy to Zackey

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                      CERTIFICATE OF COMPLIANCE

      Pursuant to 5th Cir. R. 32.3, the undersigned certifies this brief complies with

the type-volume limitations of Fed. R. App. P. 32(a)(7)(B).

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